Case 1:21-mj-00179-NRN Document 1-1 Filed 10/29/21 USDC Colorado Page 1 of 1




 DEFENDANT:           BRIAN HSU

 YOB/AGE:             2001 / 20


 OFFENSE(S):          Count 1: Title 49, United States Code, Section 46504 (Interference with
                      Flight Crew)

                      Count 2: Title 18, United States Code, Section 113(a)(4) and Title 49,
                      United States Code, Section 46506 (Assault within the Special Aircraft
                      Jurisdiction of the United States)


 LOCATION OF          Denver, Colorado and within the Special Aircraft Jurisdiction of the United
 OFFENSE:             States

 PENALTY:             Count 1: NMT 20 years imprisonment, NMT $250,000 fine or both; NMT
                      3 years supervised release; $100 Special Assessment

                      Count 2: NMT 1 year imprisonment, NMT $100,000 fine or both; NMT 1
                      year supervised release; $100 Special Assessment

 AGENT:               FBI S/A Brandon Barnes


 AUTHORIZED           Bradley W. Giles
 BY:                  Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:


  X   five days or less____ over five days

THE GOVERNMENT

X will not seek detention in this case based on 18 U.S.C. § 3142(f)(1)

The statutory presumption of detention is not applicable to this defendant.
